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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

  GREAT CHINA MANIA HOLDINGS,
  INC., a Florida Corporation; HUANG
  JIAN NAN, a nonresident alien; ZENG
  ZHI JIAN, a nonresident alien; and TAM
  KIN PONG, a nonresident alien,

        Plaintiffs.
  v.                                           Case No. 3:12-ev-0 I 042-TJC-TEM
  CMF INVESTMENTS, INC., a Florida
  Corporation; EIGER INVESTMENTS,
  INC., a Foreign Corporation; PRISM
  CAPITAL, INC., a Foreign Corporation;
  and SEO GROUP CONSULTANTS,
  INC., a Foreign Corporation;
  SCOTTSDALE CAPITAL ADVISORS,
  an Arizona Corporation; ALPINE
  SECURITIES, a Utah Corporation; and
  APEX CLEARING CORPORATION, a
  Texas Corporation,

       Defendants.


                                   STATUS REPORT

         Pursuant to this Court's order (DE 33) and the Order Dismissing Defendant, CMF

  Investments, Inc. (DE 32), the Plaintiffs, GREAT CHINA MANIA HOLDINGS, INC.,

  HUANG JIAN NAN, ZENG ZHI JIAN, AND TAM KIN PONG, hereby notify the Court

  of its resolution and stipulation with the remaining primary defendants, EIGER

  INVESTMENTS, INC., PRISM CAPITAL, INC., and SEO GROUP CONSULTANTS,

  INC., per the attached executed dismissal by said defendants. As previously recognized

  by the Court, no affirmative relief was sought in this action against the remaining
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  brokerage firm defendants who were only named for jurisdictional purposes related to the

  Plaintiffs claims for injunctive relief. Accordingly, this case may be elosed i .



                                               February 1, 2013.

                                               Respectfully Submitted,


                                               Is/ Louis M. Ursini, III
                                               LOUIS M. URSINI, III, ESQ.
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                                               Telephone: (813) 402-2880
                                               Facsimile: (813) 227-5636
                                               louis.ursinaarlaw.com
                                               Counsel for Plaintiffs


                                        CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on February I, 2013 1- electronically tiled the
  foregoing with the Clerk of the Court by using the CM/ECF system. I further certify that
  the foregoing document is being served this day on all counsel of record or pro se parties
  identified on the attached Service List in the manner specified, either via transmission of
  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
  for those counsel of parties who are not authorized to receive electronically Notices of
  Electronic Filing.


                                                        /s/ Louis M. Ursini. III




   Nothing in this filing shall be considered a waiver or release of any of the Plaintiffs rights and remedies
  being litigated with Defendant, CMF Investments, Inc., in the pending action in the Southern District Court
  of New York.
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

   GREAT CHINA MANIA HOLDINGS.
   INC., et al.,

           Plaintiffs,
   v.                                             Case No. 3:12-cv-01042-TJC-TEM
   CMF INVESTMENTS, INC., et al.,

           Defendants.

                         STIPULATED DISMISSAL WITH PREJUDICE

              Plaintiffs, GREAT CHINA MANIA HOLDINGS, INC., HUANG JIAN NAN,
  ZENG ZHI MAN AND TAM KIN PONG, and Defendants, EIGER INVESTMENTS,
   INC., PRISM CAPITAL, INC. AND SEO GROUP CONSULTANTS, INC., hereby
  stipulate and jointly move for entry of a dismissal with prejudice as to said Defendants
   only and with each party bearing their own fees and costs in connection herewith.


  Great China Mania Holdings, Inc.                    Huang Jian Nan

  By:
  its:                                                Tam Kin Pang


                                                      Zeng Zhi Jian



  Eiger Investments, Inc.                             Prism Capital, Inc.

  By:    (1/1 FV=                                     By: /1.1A2,k
               v f1


  SEO.,roup Consultants, Inc.

  By:
  Its:
